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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION



JESSE CARTER, individually and
on behalf of all others similarly                          Case No. 6:19-cv-00378-RBD-GJK
situated,
                                                           CLASS ACTION

               Plaintiffs,
v.

GREEN CASH, LLC, a foreign
corporation, and WD SERVICES,
LLC, a foreign corporation,

               Defendants.             /

     DEFENDANT GREEN CASH LLC’S ANSWER TO PLAINTIFF’S CORRECTED
                    COMPLAINT AND JURY DEMAND

       Defendant Green Cash LLC (“Green Cash”) hereby answers the putative class action

Complaint and Jury Demand (the “Complaint”) of Plaintiff Jesse Carter (“Plaintiff”). For the

avoidance of doubt, Green Cash denies any and all statements in the Complaint’s section

headings or otherwise made outside the numbered paragraphs therein. As to the allegations

contained in the numbered paragraphs of the Complaint, Green Cash hereby answers and

responds as follows:

       1.      Paragraph 1 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash admits only that the action purports to assert claims under

the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and denies the remaining

allegations in Paragraph 1.

       2.      Paragraph 2 does not raise any factual issues requiring a response and contains

conclusions of law to which no response is required. To the extent any response is required,
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Green Cash admits only that the action purports to assert claims under the TCPA. Green Cash

lacks information sufficient to form a belief as to the remaining allegations in Paragraph 2 and

therefore denies them.

                                 JURISDICTION AND VENUE

       3.      Paragraph 3 contains conclusions of law to which no response is required. To the

extent any response is required, Green Cash admits only that the action purports to assert a claim

under the TCPA.

       4.      Green Cash denies the allegations in Paragraph 4.

                                             PARTIES

       5.      Paragraph 5 conclusions of law to which no response is required. To the extent

any response is required, Green Cash lacks information sufficient to form a belief as to the

allegations in Paragraph 5 and therefore denies those allegations.

       6.      Green Cash denies the allegations in Paragraph 6, except admits that Green Cash

has its principal place of business in California.

       7.      Paragraph 7 conclusions of law to which no response is required. To the extent

any response is required, Green Cash lacks information sufficient to form a belief as to the

allegations in Paragraph 7 and therefore denies them.

       8.      Green Cash denies the remaining allegations in Paragraph 8.

       9.      Green Cash denies the allegations in Paragraph 9.

       10.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 10 and therefore denies them.

                   THE TELEPHONE CONSUMER PROTECTION ACT

       11.     Paragraph 11 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 11.


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       12.    Paragraph 12 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 12.

       13.    Paragraph 13 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 13.

       14.    Paragraph 14 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 14.

       15.    Paragraph 15 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 15.

       16.    Paragraph 16 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 16.

       17.    Paragraph 17 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 17.

       18.    Paragraph 18 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 18.

       19.    Paragraph 19 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 19.

       20.    Paragraph 20 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 20.

       21.    Paragraph 21 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 21.

       22.    Paragraph 22 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash denies the allegations in Paragraph 22.

                                 FACTUAL ALLEGATIONS

       23.    Green Cash realleges and reincorporates by reference its responses to each of the


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preceding Paragraphs as though fully set forth herein.

       24.     Green Cash denies the remaining allegations in Paragraph 24.

       25.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 25 and therefore denies them.

       26.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 26 and therefore denies them.

       27.     Green Cash denies the allegations in Paragraph 27.

       28.     Green Cash denies the allegations in Paragraph 28.

       29.     Green Cash denies the allegations in Paragraph 29.

       30.     Green Cash denies the allegations in Paragraph 30.

       31.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 31 and therefore denies them.

       32.     Green Cash denies the allegations in Paragraph 32 to the extent they apply to

Green Cash. Green Cash lacks information sufficient to form a belief as to the remaining

allegations in Paragraph 32 and therefore denies them.

       33.     Paragraph 33 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 33.

       34.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 34 and therefore denies them.

       35.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 35 and therefore denies them.

       36.     Paragraph 36 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 36.




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       37.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 37 and therefore denies them.

       38.     Paragraph 38 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 38.

       39.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 39 and therefore denies them.

       40.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 40 and therefore denies them.

       41.     Paragraph 41 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 41.

       42.     Green Cash denies the allegations in Paragraph 42.

       43.     Green Cash denies the allegations in Paragraph 43.

       44.     Green Cash denies the allegations in Paragraph 44.

       45.     Paragraph 45 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 45.

       46.     Paragraph 46 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 46.

       47.     Paragraph 47 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 47.

       48.     Paragraph 48 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 48.

       49.     Paragraph 49 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 49.




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       50.     Green Cash denies the allegations in Paragraph 50.

       51.     Green Cash denies the allegations in Paragraph 51.

                               CLASS ACTION ALLEGATIONS

       52.     Green Cash realleges and reincorporates by reference its responses to Paragraphs

1 through 22 and 24 through 51 above as though fully set forth herein.

       53.     Paragraph 53 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash admits only that this action purports to be a putative class

action brought on behalf of Plaintiff and others similarly situated but and specifically denies that

this action is suitable or is able to meet the standards for class treatment. Green Cash denies any

remaining allegations of Paragraph 53.

       54.     Green Cash denies the allegations in Paragraph 54.

       55.     Green Cash denies the allegations in Paragraph 55 and specifically denies that this

action is suitable or is able to meet the standards for class treatment.

       56.     Green Cash denies the allegations in Paragraph 56 and specifically denies that this

action is suitable or is able to meet the standards for class treatment.

       57.     Green Cash denies the allegations in Paragraph 57.

       58.     Green Cash denies the allegations in Paragraph 58.

       59.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 59 and therefore denies them.

       60.     Paragraph 60 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 60.

       61.     Paragraph 61 contains conclusions of law to which no response is required. To

the extent any response is required, Green Cash denies the allegations in Paragraph 61.

       62.     Green Cash denies the allegations in Paragraph 62, and specifically denies


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Plaintiff or the putative class members were harmed by Green Cash in any way or that Plaintiff

or the putative class members are entitled to any damages or relief from Green Cash whatsoever.

        63.     Paragraph 63 does not raise any factual issues requiring a response. To the extent

any response is required, Green Cash admits only that this action purports to seek damages and

injunctive relief on behalf of Plaintiff and the putative class but specifically denies Plaintiff or

the putative class members were harmed by Green Cash in any way or that Plaintiff or the

putative class members are entitled to any damages or relief from Green Cash whatsoever.

Green Cash denies the remaining allegations in Paragraph 63.

        64.     Green Cash denies the allegations in Paragraph 64 and specifically denies that this

action is suitable or is able to meet the standards for class treatment.

        65.     Green Cash denies the allegations in Paragraph 65 (including all subparts) and

specifically denies that this action is suitable or is able to meet the standards for class treatment.

        66.     Green Cash denies the allegations in Paragraph 66 and specifically denies that

Plaintiff is a typical or adequate class representative or that this action is suitable or is able to

meet the standards for class treatment.

        67.     Green Cash denies the allegations in Paragraph 67 and specifically denies that this

action is suitable or is able to meet the standards for class treatment, that Plaintiff or the putative

class members were harmed by Green Cash in any way, or that Plaintiff or the putative class

members are entitled to any damages or relief from Green Cash whatsoever.

        68.     Green Cash lacks information sufficient to form a belief as to the allegations in

Paragraph 68 and therefore denies them.

        69.     Green Cash denies the allegations in Paragraph 69 and specifically denies that this

action is suitable or is able to meet the standards for class treatment.




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        70.     Green Cash denies the allegations in Paragraph 70 specifically denies that this

action is suitable or is able to meet the standards for class treatment.

        71.     Green Cash denies the allegations in Paragraph 71 and specifically denies that this

action is suitable or is able to meet the standards for class treatment, that Plaintiff or the putative

class members were harmed by Green Cash in any way, or that Plaintiff or the putative class

members are entitled to any damages or relief from Green Cash whatsoever.

              COUNT I: VIOLATIONS OF THE TCPA 47 U.S.C. § 227 ET SEQ.
                          (on behalf of Plaintiff and the Class)

        72.     Green Cash realleges and reincorporates by reference its responses to Paragraphs

1 through 22, 24 through 51, and 53 through 71 above each of the preceding paragraphs as

though fully set forth herein.

        73.     Green Cash denies the allegations in Paragraph 73.

        74.     Green Cash denies the allegations in Paragraph 74 and specifically denies that

Plaintiff or the putative class members were harmed by Green Cash in any way, or that Plaintiff

or the putative class members are entitled to any damages or relief from Green Cash whatsoever.

        75.     Green Cash denies the allegations in Paragraph 75 and specifically denies that

Plaintiff or the putative class members were harmed by Green Cash in any way, or that Plaintiff

or the putative class members are entitled to any damages or relief from Green Cash whatsoever.

  COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF TCPA 47 U.S.C. § 227
                                   ET SEQ.
                     (on behalf of Plaintiff and the Class)

        76.     Green Cash realleges and reincorporates by reference its responses to Paragraphs

1 through 22, 24 through 51, and 53 through 71 above each of the preceding paragraphs as

though fully set forth herein.

        77.     Green Cash denies the allegations in Paragraph 77.


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       78.     Green Cash denies the allegations in Paragraph 78 and specifically denies that

Plaintiff or the putative class members were harmed by Green Cash in any way, or that Plaintiff

or the putative class members are entitled to any damages or relief from Green Cash whatsoever.

       79.     Green Cash denies the allegations in Paragraph 79 and specifically denies that

Plaintiff or the putative class members were harmed by Green Cash in any way, or that Plaintiff

or the putative class members are entitled to any damages or relief from Green Cash whatsoever.

                           RESPONSE TO PRAYER FOR RELIEF

       Green Cash denies that Plaintiff or the putative class is entitled to any relief, including in

particular the relief specifically requested on page 17 of the Complaint, or any relief whatsoever.

                                     GENERAL DENIALS

               All allegations in the Complaint, including those presented in any and all attached

exhibits, that are not specifically admitted above are hereby denied, and Green Cash denies any

and all allegations implied or that may be inferred from any captions or headings in or footnotes

to the Complaint or that purport to relate to conduct by other parties. For the avoidance of doubt,

Green Cash denies any liability as to having violated the TCPA or that Plaintiff is entitled to any

damages or other relief under the TCPA or otherwise, including but not limited to the specific

statutory provisions identified in the Complaint or otherwise. Green Cash expressly reserves the

right to amend its responses above and affirmative defenses below for any reason as permitted by

applicable rules, orders, and law.

                        SEPARATE AND ADDITIONAL DEFENSES

       Without admitting any of the facts alleged in the Complaint or liability as to Plaintiff or

any putative class member, Green Cash asserts and alleges the following separate and additional

defenses, without prejudice to Green Cash’s right to argue that Plaintiff bears the burden of proof

as to any one or more of these defenses.


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                                 FIRST AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim against Green Cash upon which relief can be

 granted under the TCPA or other law, and therefore ought to be dismissed.

                                SECOND AFFIRMATIVE DEFENSE

        Plaintiff cannot carry his burden of showing that any action by Green Cash was willful or

 knowing.

                                 THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because the alleged conduct complained of by Plaintiff was

 caused or contributed to by the acts of Plaintiff or third parties other than Green Cash.

 Accordingly, Plaintiff’s recovery from Green Cash, if any, should be barred.

                                FOURTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because Plaintiff lacks standing, in particular under Article

 III of the U.S. Constituion.

                                 FIFTH AFFIRMATIVE DEFENSE

        If Plaintiff was damaged in any manner then said damages, if any, or the whole thereof,

 were and are a result of the failure of Plaintiff to mitigate his damages.

                                 SIXTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred by the doctrines of waiver, estoppel, and laches.

                                SEVENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred by the doctrine of assumption of risk because Plaintiff

 voluntarily opted in to receive calls and failed to engage in reasonable efforts to cease the calls.

                                 NINTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because Plaintiff provided his prior express consent or prior




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 express written consent to be contacted, or no consent was required under the circumstances.

                               TENTH AFFIRMATIVE DEFENSE

        The Complaint and the purported claims for relief stated therein are barred because

 Plaintiff has not sustained any injury or damage as a result of any act or omission of Green Cash.

                            ELEVENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred, in whole or in part, by the doctrine of de minimis harm

 because the actual harm allegedly suffered is negligible.

                             TWELFTH AFFIRMATIVE DEFENSE

        Plaintiff’s injuries, if any, were caused in whole or in part by the actions of parties other

 than Green Cash.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        Plaintiff has failed to state a claim for injunctive relief insofar as he seeks to enjoin

 alleged events that have already transpired without the requisite showing of threatened future

 harm or continuing harm.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        To the extent the TCPA is applied against Green Cash in this case to impose upon Green

 Cash liability in circumstances that Green Cash could not have reasonably avoided and/or

 damages that would be grossly disproportional to any actual harm caused by the activity in

 question, the TCPA violates the Due Process Clause of the Fifth Amendment to the United States

 Constitution.

                            FIFTEENTH AFFIRMATIVE DEFENSE

        To the extent the TCPA is applied against Green Cash in this case to impose liability that

 would restrict Green Cash’s speech on the basis of its content, the TCPA violates the First




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 Amendment to the United States Constitution.

                           SIXTEENTH AFFIRMATIVE DEFENSE

        To the extent the TCPA is applied against Green Cash in this case to impose liability that

 would be grossly disproportional to any actual harm allegedly caused by the activity in question,

 the TCPA violates the Eighth Amendment to the United States Constitution, which prohibits

 excessive fines.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

        The putative class defined by Plaintiff’s Complaint does not constitute an appropriate

 class to be certified pursuant to Rule 23 of the Federal Rules of Civil Procedure. The class has

 not suffered a common injury, is not ascertainable or identifiable, and would require individual

 proof of damages. Further, the claims of the class representative are not typical of the class

 members defined in the Complaint.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

        The putative class defined by Plaintiff’s Complaint is impermissibly failsafe and does not

 constitute an appropriate class to be certified pursuant to Rule 23 of the Federal Rules of Civil

 Procedure.

                          NINETEENTH AFFIRMATIVE DEFENSE

        The Complaint and the purported claims for relief stated therein are barred because the

 Court lacks personal jurisdiction over Green Cash. This Court does not have personal

 jurisdiction over Green Cash because the allegations in the Complaint do not satisfy the Florida

 Long-Arm Statute (Fla. Stat. § 48.193). Further, this Court does not have personal jurisdiction

 over Green Cash because the allegations in the Complaint do not support the exercise of general

 jurisdiction over Green Cash, a non-resident LLC that was neither formed in Florida nor does it




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 have its principal place of business in Florida. Moreover, this Court does not have specific

 personal jurisdiction over Green Cash because Green Cash does not have any contact with

 Florida, nor do the claims arise from any contact between Green Cash and Florida.


                             TWENTIETH AFFIRMATIVE DEFENSE

         Certain additional defenses to the Complaint and to the purported claims for relief stated

 therein may be available to Green Cash. However, these additional defenses may require

 discovery before they can be properly alleged. Thus, Green Cash reserves the right to assert

 other separate and additional defenses, if and when they become appropriate in this action.

                                        JURY TRIAL DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Green Cash demands a

 trial by jury of all issues triable of right by jury.

                                                 PRAYER

         WHEREFORE, Green Cash prays that:

         1.      Plaintiff’s Complaint be dismissed in its entirety with prejudice;

         2.      Plaintiff takes nothing by this action;

         3.      Green Cash be awarded their costs of suit; and,

         4.      Green Cash be awarded such other relief as the Court deems just and proper.




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 DATED: May 2, 2019                 Respectfully submitted,
                                    GREEN CASH LLC
                                    By its attorneys,

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